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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

                                                       )
JANSSEN BIOTECH, INC.,                                 )
                Plaintiff,                             )
                                                       )      Case No. 1:17-cv-11008-MLW
                                                       )
v.                                                     )
                                                       )
CELLTRION HEALTHCARE CO., LTD.,                        )
CELLTRION, INC., and                                   )
HOSPIRA, INC.                                          )
                  Defendants.                          )
                                                       )

                    JANSSEN’S MOTION TO SEAL
THE MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANTS’ MOTION FOR
 SUMMARY JUDGMENT OF NON-INFRINGEMENT BASED ON ENSNAREMENT,
    JANSSEN’S RESPONSE TO DEFENDANTS’ RULE 56.1 STATEMENT OF
UNDISPUTED MATERIAL FACTS IN SUPPORT OF DEFENDANTS’ MOTION FOR
 SUMMARY JUDGMENT OF NON-INFRINGEMENT BASED ON ENSNAREMENT
           AND COUNTERSTATEMENT OF MATERIAL FACTS,
                   AND ACCOMPANYING EXHIBITS

         Pursuant to Local Rules 7.1 and 7.2 of the United States District Court for the District of

Massachusetts, plaintiff Janssen Biotech, Inc. moves for leave to file under seal the following

documents:

     •   Memorandum of Law in Opposition to Defendants’ Motion for Summary Judgment of

         Non-Infringement Based on Ensnarement (“Memorandum of Law”);

     •   Janssen’s Response to Defendants’ Rule 56.1 Statement of Undisputed Material Facts in

         Support of Defendants’ Defendants’ Motion for Summary Judgment of Non-

         Infringement Based on Ensnarement and Counterstatement of Material Facts (“Rule 56.1

         Counterstatement”); and

     •   Accompanying Exhibits 3-6, 10-12, 14-16, and 19-31.
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     In support of this motion, Plaintiff states as follows:

     1. Janssen intends to file above-referenced documents today.

     2. These documents contain reference to, and discussion of, certain confidential

        information that may be considered proprietary by the Plaintiff, Defendants, and third

        parties.

     3. To minimize the impact of sealing, Janssen will file redacted versions of the

        Memorandum of Law and Rule 56.1 Counterstatement through the Court’s electronic

        filing system.

     4. The granting of this motion will not prejudice any party.

     5. The Defendants assent to the relief requested.



Dated: May 10, 2018                               Respectfully Submitted,
                                                  JANSSEN BIOTECH, INC.

                                                  By its attorneys,

                                                  /s/ Alison C. Casey

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                                                  Attorneys for Janssen Biotech, Inc.




                           LOCAL RULES 7.1 CERTIFICATION

        Pursuant to Local Rule 7.1(A)(2), I certify that plaintiff’s counsel conferred with
defendants’ counsel on the subject of this motion and was advised that the defendants assent to
the relief requested.


                                                     /s/ Alison C. Casey

                                CERTIFICATE OF SERVICE

        I certify that on May 10, 2018 this document, filed through the ECF system, will be sent
electronically to the parties or their counsel who are registered participants as identified on the
Notice of Electronic Filing.

                                                     /s/ Alison C. Casey
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